                            NUMBER 13-16-00360-CV

                            COURT OF APPEALS

                  THIRTEENTH DISTRICT OF TEXAS

                     CORPUS CHRISTI - EDINBURG
____________________________________________________________

AMANDA ANN GUTIERREZ,                                                       Appellant,

                                           v.

ROGELIO P. FLORES,                                  Appellee.
____________________________________________________________

             On appeal from the 117th District Court
                   of Nueces County, Texas.
____________________________________________________________

                         MEMORANDUM OPINION
        Before Chief Justice Valdez and Justices Garza and Longoria
                     Memorandum Opinion Per Curiam

      Appellant, Amanda Ann Gutierrez, appealed a judgment entered by the 117th

District Court of Nueces County, Texas. On July 28, 2016, the Clerk of this Court notified

appellant, in accordance with Texas Rule of Appellate Procedure 42.3(c), that we would

dismiss this appeal unless the $205.00 filing fee was paid. See TEX. R. APP. P. 42.3(c).
Appellant has not responded to the notice from the Clerk or paid the $205.00 filing fee.

See TEX. R. APP. P. 5, 12.1(b).

      The Court, having considered the documents on file and appellant’s failure to pay

the filing fee, is of the opinion that the appeal should be dismissed. See id. 42.3(b),(c).

Accordingly, the appeal is DISMISSED for want of prosecution.



                                                PER CURIAM

Delivered and filed the
2nd day of September, 2016.




                                            2
